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                   EMERGENCY MOTION — EXPEDITED ACTION REQUESTED

                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


LEANDRA ENGLISH,
              Plaintiff,

              v.

DONALD J. TRUMP and                                                 Case No. 1:17-cv-02534
JOHN M. MULVANEY,
                                      Defendants.



              PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER

              Plaintiff Leandra English hereby requests, under Federal Rule of Civil Procedure 65(b)

and Local Rule 65.1, that this Court issue a temporary restraining order preventing the

defendants from appointing, causing the appointment of, or recognizing the appointment of an

Acting Director of the Consumer Financial Protection Bureau via any mechanism other than

that provided for by 12 U.S.C. § 5491(b)(5)(b). Plaintiff requests emergency relief due to the

exigency of the circumstances and the irreparable nature of the injury the TRO would prevent.

              Plaintiff is the Acting Director of the CFPB and, as set forth in greater detail in an

accompanying memorandum in support of this motion, she is required and empowered by the

Dodd-Frank Act to “serve as [the CFPB’s] acting Director in the absence or unavailability of the

Director.” 12 U.S.C. § 5491(b)(5)(b). The former Director of the CFPB, Richard Cordray,

announced his resignation effective midnight on November 24, 2017, triggering this provision.1

But the President has announced that he seeks to bypass this statutory requirement by attempting




         1See Sylvan Lane, Cordray announces he’ll leave consumer bureau Friday, The Hill (Nov. 24, 2017),

http://thehill.com/policy/finance/361742-cordray-announces-hell-leave-consumer-bureau-friday.
       	  
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to use the Federal Vacancies Reform Act, 5 U.S.C. § 3345 et seq., to appoint an Acting Director

from outside the CFPB.

       Such an action would violate the clear provisions of the Dodd-Frank Act. The Dodd-

Frank Act was enacted after the FVRA, and its more-specific, later-in-time provision regarding

the succession plan for the CFPB governs. The legislative history of the Act also indicates that

Congress initially considered whether to use the FVRA’s mechanisms to provide for an Acting

Director of the CFPB, but specifically rejected this path in favor of having the Deputy Director

accede to the position. And finally, the President’s chosen appointee would threaten the CFPB’s

statutorily guaranteed independence. Defendant John Mulvaney currently serves as Director of

the Office of Management and Budget, an agency within the President’s Executive Office. If Mr.

Mulvaney were to continue in his role as Director of OMB while serving as Acting Director of

the CFPB, it would severely undermine Congress’s goal of insulating the CFPB Director from

presidential influence or control by requiring that it be established as an “independent bureau.”

       In light of this impending illegal action, this Court should issue an emergency temporary

restraining order to preserve the rights of the parties pending a resolution of this matter on the

merits. As explained at greater length in the accompanying memorandum, the balance of

hardships favors granting a temporary restraining order. Acting Director English is undertaking

efforts to notify the Department of Justice of these proceedings simultaneously with the

submission of the complaint and this motion, and the issuance of an temporary restraining order

will not materially prejudice the defendants’ interests. A temporary restraining order is thus the

best mechanism to preserve the interests involved until the defendants have had an opportunity

to respond and the Court may consider the appropriateness of more lasting relief.

       For the foregoing reasons, Ms. English requests this Court issue, on an interim, ex parte

basis, an order restraining the President from appointing, causing the appointment of, or
     	  
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recognizing the appointment of an Acting Director of the Consumer Financial Protection Bureau

via any mechanism other than that provided for by 12 U.S.C. § 5491(b)(5)(b), and restraining Mr.

Mulvaney from asserting or exercising any authority as Acting Director of the CFPB.

                                  Respectfully submitted,

                                  /s/ Deepak Gupta

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                                  MATTHEW WESSLER (D.C. Bar No. 985241)
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November 26, 2017                 Attorneys for Plaintiff




       	  
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                                    CERTIFICATE OF SERVICE

              I hereby certify that on November 26, 2017, I electronically filed this motion for a

temporary restraining order through this Court’s CM/ECF system. I understand that notice of

this filing will be sent to all parties by operation of the Court’s electronic filing system.

                                                /s/ Deepak Gupta
                                                Deepak Gupta




       	  
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